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                              U N ITED STA TES D ISTR ICT CO U R T
                             SOUTH ERN DISTRICT OF FLORIDA
                            CA SE N O . 22-CR -20209-M O O RE/LO U IS

  U M TED STA TES O F AM ER ICA

  V S.

  R IC AR D O R O D RIGU EZ-O TER O ,

                                D efendant.
                                                              /

                                      PLEA A G REEM E NT

         TheUnitedStatesAttorney'sOY cefortheSouthenzDistlictofFlorida(GGthisOffice''land
  Ricardo Roclriguez-otero (hereinafterreferred to as the Eldefendanf')enterinto the following
  agreem ent:

         1.       The defendant agrees to plead guilty to cotmt 2 of the indictm ent,which cotm t

  charges       the   defendant     with      distribution   of          controlled     substance

  inviolation ofTitle21,UnitedStatesCode,Section 841(a)(1).
              This O ffice agrees to seek dism issal of cotm ts 1 and 3 of the indictm ent after

  sentencing.

              ThedefendantisawarethatthesentencewillbeimposedbytheCourtafterconsidering

  the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter Ilsentencing
  Guidelines''). The defendantacknowledgesand understands thatthe Cotu'twillcompute an
  advisory sentence under the Sentencing Guidelines and that the applicable guidelines w ill be

  determ ined by the Courtrelying in partonthe resultsofa pre=sentence investigation by the Court's

  probation office,which investigation w illcom m ence afterthe guilty plea hasbeen entered. The
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      defendantisalso awarethat,undercertain circtlm stances,the Courtm ay depm'tfrom theadvisory

      sentencing guideline rangethatithascom puted,and may raise orlowerthatadvisory sentence

      lm derthe Sentencing Guidelines. Thedefendantisfurtheraware and understandsthattheCourt

      isrequired to considerthe advisory guideline range determ ined tm derthe Sentencing G uidelines,

      butisnotbound to im posea sentencewithin thatadvisory range;the Courtispennitted to tailor

      theultim atesentence in lightofotherstatutory concenzs,and such sentence m ay be eitherm ore

      severe orlesssevere than the Sentencing Guidelines'advisory range. Knowing these facts,the

      defendanttmderstandsand acknowledgesthatthe Courthastheauthorityto im pose any sentence

      within and up to the statm orym axim llm authorized by law fortheoffense identified in paragraph

      1andthatthedefendantm ay notwithdraw thepleasolely asaresultofthe sentenceimposed.

             4. The defendant also tm derstands and acknow ledges that the Court m ust im pose a

      mirlimllm tez'm ofimprisonmentoffive(5)yearjand may imposeastatutoly maximum term of
      imprisonmentofupto forty (40)years,followed by atenn ofsupervisedreleaseofatleastfour
      (4)years.In additionto aterm ofimpdsonmentand supervisedrelease,theCourtmay imposea
:     fineofupto $5,000,000 andm ay orderforfeiture and restitution.
             5. The defendantf'
                              urthertm derstands and acknow ledgesthat,in addition to any sentence

      imposed tm der pazagraph 4 of this agreem ent, a special assessm ent in the nmount of $100

      willbe imposed on the defendant. The defendantagrees thatany specialassessm entimposed

      shallbe paid atthe tim e of sentencing. lfa defendantis fmancially unable to pay the special

      assessm ent,the defendantagrees to presentevidence to this Office and the Courtatthe tim e of

      sentencing asto the reasons forthe defendant's failtlre to pay.

             6. This Oflice reselwes the rightto inform the Cout'tand the probation office of a1lfacts

      pertinent to the sentencing process,including a1lrelevant inform ation concem ing the offenses
                                                      2
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           comm itted,whether charged or not,as wellas concem ing the defendant and the defendant's

           background. Subjectonlytotheexpresstennsofany agreed-upon sentencingrecommendations
           contained in tllisagreem ent,thisOfficefurtherreservestherighttom akeany recom mendation as

           to the quality and quantity ofptmishm ent.

                   7. TllisOffice agreesthatitwillrecom mend atsentencing thatthe Courtreduce by two

           levelsthe sentencing guideline levelapplicable to the defendant's offense,ptlrsuantto Section

           3E1.1(a)oftheSentencing Guidelines,based upon the defendant'srecognition and affinnative
           and tim ely acceptance of personal responsibility.lf at the tim e of sentencing the defendant's

           offense levelis determ ined to be 16 or greater,this Office will file a motion requesting an

           additionaloneleveldecreasepursuantto Section3E1.1(b)ofthe SentencingGuidelines,stating
           thatthe defendanthas assisted authorities in theinvestigation orprosecution ofthe defendant's

           ow n m isconduct by tim ely notifying authorities of the defendant's intention to enter a plea of

           guilty, thereby perm itting the govem m ent to avoid prepadng for trial and permitting the

           governm entand theCourtto allocatetheirresolzrcesefficiently.ThisOffice,however,willnotbe

           required to makethismotion ifthe defendant:(1)failsorrefusesto make afull,acctlrate and
1          com plete disclostlre to the probation office ofthe circum stances surrounding the relevantoffense

           conduct;(2)isfotmdtohavemisrepresentedfactstothegovernmentpriortoenteringintothisplea
           agreement;or(3)commitsany misconductafterentering into thispleaagreement,including but
           notlim itedto comm itling a state orfederaloffense,violating any term ofrelease,orm nking false

           statem ents orm isrepresentations to any governm entalentity or official.

                   8.     The United States and the defendantagree thatatthe tim e of sentencing,although

           notbinding on theprobation officeortheCourt,they willjointly recommend that,pttrsuantto
           Section 5C 1.2 ofthe Sentencing Guidelines,the Courtim pose a sentence w ithin the Sentencing
                                                           3
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        Guidelines range withoutregard to any statutory m irlim um sentence identified in paragraph 4

        above,provided that:

               (a)thedefendantdoesnothave:
                      1.m ore than four Crim inalH istory points,excluding any Crim inalH istory points

               resulting from a l-pointoffense,ascalculated tmdertheSentencing Guidelines;

                      2. a prior offense earning three points as calculated tmder the Sentencing

               Guidelines;and

                      3.apdorviolentoffense (as defined in 18 U.S.C.j 16)enrning two pointsas
               calculated lm derthe Sentencing Guidelines;

               (b)thedefendantdidnotuseviolenceorcrediblethreatsofviolenceorpossessedaflzenrm
        orotherdangerousweapon(orinducedanotherparticipanttodoso)inconnectionwiththeoffense;
               (c)theoffensedidnotresultindeathorseriousbodilyinjurytoanyperson;
               (d)thedefendantwasnotan organizer,leader,manager,orsupervisorofothersin the
        offense,as determ ined under the Sentencing Guidelines and was not engaged in a continuing

        crim inalenterplise;and

               (e)notlaterthanthetimeofthesentencingheming,thedefendanthastruthftzllyprovided
        to this Office al1 inform ation and evidence that the defendanthas concerning the offense or

        offensesthatwerepartofthe snm ecolzrseofconductorofa comm on scheme orplan.

               9.     Provided thatthedefendantsatisfiesthecritedainparagraph 8,in exchangeforthe

        defendant's expressagreem entthathew illnotlaterseek a furtherreduced sentence pursuantto 18

        U.S.C.j 3582(c)in theeventtheCommission nmendsSection 5C1.2to contbnn to the safety-
        valvecriteriainthecurrentversion of18U.S.C.j35534$ tmdertheFirstStep Actof2018and
        makesany suchnmendmentretroactive,thisOfficewillnotobjecttoadownwardvazianceoftwo
                                                      4
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            levelsfrom theguidelinerangecalculatedunderthecurrentGuidelinesM anual(toreflectthe2-
            levelreductioncurrentlycontemplatedin2D1.1(b)(18)).However,iftheCourtdoesnotgrantthe
            two-levelvariancerequestedon thebasisoftheproposednm endment,then theDefendantshallbe

            releasedf'
                     rom theabove-describedagreementrelatingto18U.S.C.j3582/).TllisOfficeremains
            freetp opposeavariancesoughton any othergrounds.TheDefendantunderstandsand agreesthat

            thisprovision isnotbinding on theCourtortheProbation Ox ce,and thattheCourtremains9ee

    ,
            todeny anyvariancerequestedby eitherpartyorjointly.
                   10. The defendantis aw are thatthe sentence has notyetbeen determ ined by the Court.

            Thedefendantalsoisawarethatany estim ateoftheprobablesentencing rangeorsentencethatthe

            defendantm ay receive,whetherthatestim atecomesfrom thedefendant'sattonley,thisOffice,or

            theprobation office,isa prediction,nota prom ise,and isnotbinding on thisO ffice,the probation

            office orthe Coutt The defendanttmderstands furtherthatany recomm endation thatthis Office

            m akestotheCourtastosentencing,whetherptlrsuanttothisagreementorotherwise,isnotbinding

            on the Cout'tarld the Courtm ay disregard the recom mendation in its entirety.The defendant

            tuiderstands and acknowledges,as previously acknowledged in paragraph 3 above,that the
            defendant m ay not withdraw his/her plea based upon the Court's decision not to accept a

            sentencingrecommendationmadebythedefendant,thisOfsce,orarecommendationmadejointly
            by thedefendantandthisOffice.

                   11.    The defendant agrees, in an individual and any other capacity,to forfeit to the
'

            U rlited States, voltm tarily and im m ediately, any right, title, and interest to any property

            constituting, or derived f'
                                      rom , any proceeds obtained, directly or indirectly, as the result of a

            violationof21U.S.C.j841andanypropertyusedorintendedtobeused,inanymannerorpart,
            tocommit,ortofacilitatethecommissionof,suchviolation,pursuantto21U.S.C.j853.
                                                           5




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         12.     The defendantfurtheragreesthatforfeitureisindependentofany assessm ent,fine,

  cost, restitution, or penalty that m ay be im posed by the Court.The defendant lcnow ingly and

  voltmtarily agrees to waive all constitutional,legal, and equitable defenses to the forfeiture,

  including excessive fines under the Eighth A m endm ent to the United States Constitution. In

  addition,thedefendantagreestowaive:any applicabletimelimitsforadministrativeorjudicial
  forfeitureproceedings,therequirementsofFed.Rs.Crim.P.32.2and43(a),andanyappealofthe
  forfeiture.

                 Thedefendantalso agreesto f'
                                            ully and tnlthfully disclosetheexistence,natureand

  location ofallassetsin which the defendanthasorhad any directorindirectfinancialinterestor

  control,and mly assets involved in the offense of conviction. The defendant agrees to talce a11

  stepsrequested by theUnited Statesfortherecovery and forfeitureofa1lassetsidentifed by the

  UnitedStatesassubjecttoforfeiture. Thisincludes,butisnotlimitedto,thetimelydeliveryupon
  request of al1necessary and appropriate doctlmentation to deliver good and m arketable title,

  consentingtoallordersofforfeiture,andnotcontesting orimpeding in anyway with any criminal,

  civiloradm inistrative forfeiture proceeding concerning the forfeiture.

         14. D efendantrecognizesthatpleading guilty m ay have consequencesw ith respectto the

  defendant'sim migration stat'
                              usifthedefendantisnotacitizenoftheUnited States. Underfederal

  law ,abroadrange ofcrim esare rem ovable offenses,including theoffense to which defendantis

  pleading guilty.Removaland other immigration consequences are the subjectof a separate
  proceeding,how ever,and defendantunderstands thatno one,including the defendant's attorney

  orthe Court,can predictto a certainty the effectofthe defendant's conviction on the defendant's

  imm igration status. Defendant nevertheless affirm s thatthe defendant wants to plead guilty
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   regardless of any immigration consequences that the defendant's plea m ay entail,even if the

   consequence is the defendant's autom atic rem ovalfrom the U nited States.

                 This is the entire agreem ent and tmderstanding between this Office and the

   defendant. There areno otheragreem ents,prom ises,representations,orunderstandings.



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